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                    EXHIBIT A
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

  LIFESTYLE EVOLUTION INC., a             : CIVIL DIVISION
  Pennsylvania corporation d/b/a NUGO     :
  NUTRITION,                              : Case No.: GD-20-004978
                                          :
               Plaintiff,                 : COMPLAINT IN CIVIL ACTION
                                          :
        v.                                :
                                          :
  CVS PHARMACY, INC., a Rhode Island      :
  corporation; CVS HEALTH SOLUTIONS,      :
  LLC, a Rhode Island limited liability   :
  company; and PENNSYLVANIA CVS
  PHARMACY, LLC, a Pennsylvania limited
  liability corporation,

                            Defendants.

                                           Filed on Behalf of Plaintiff


                                           Counsel of Record for this Party:

                                           Shawn T. Flaherty, Esquire
                                           Pa. I.D. # 43697

                                           William F. Rogel, Esquire
                                           Pa. I.D. #203348

                                           Jaclyn M. DiPaola, Esquire
                                           Pa. I.D. #322531

                                           FLAHERTY FARDO ROGEL & AMICK,
                                           LLC
                                           Firm # 527
                                           812 Ivy Street | Shadyside
                                           Pittsburgh, PA 15232

                                           Telephone No.:         412-802-6666
                                           Facsimile No.:         412-802-6667
                                           Email:                 info@pghfirm.com
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA

  LIFESTYLE EVOLUTION INC., a                      : CIVIL DIVISION
  Pennsylvania corporation d/b/a NUGO              :
  NUTRITION,                                       : Case No.: GD-20-004978
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                 Plaintiff,                        : COMPLAINT IN CIVIL ACTION
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          v.                                       :
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  CVS PHARMACY, INC., a Rhode Island               :
  corporation; CVS HEALTH SOLUTIONS,               :
  LLC, a Rhode Island limited liability            :
  company; and PENNSYLVANIA CVS
  PHARMACY, LLC, a Pennsylvania limited
  liability corporation,

                                Defendants.

                                    NOTICE TO DEFEND

        YOU HAVE BEEN SUED IN COURT. If you wish to defend against the claims set forth
in the following pages, you must take action within TWENTY (20) days after this complaint and
notice are served, by entering a written appearance personally or by attorney and filing in writing
with the court your defenses or objections to the claims set forth against you. You are warned that
if you fail to do so the case may proceed without you and a judgment may be entered against you
by the court without further notice for any money claimed in the complaint or for any other claim
or relief requested by the plaintiff. You may lose money or property or other rights important to
you.

      YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT
HAVE A LAWYER OR CANNOT AFFORD ONE, GO TO OR TELEPHONE THE OFFICE
SET FORTH BELOW. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT
HIRING A LAWYER.

     IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO
PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL
SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

                  Allegheny County Bar Association Lawyer Referral Service
                          400 Koppers Building - 436 Seventh Ave.
                                   Pittsburgh, PA 15219
                                       412-261-5555


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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA


  LIFESTYLE EVOLUTION INC., a                      : CIVIL DIVISION
  Pennsylvania corporation d/b/a NUGO              :
  NUTRITION,                                       : Case No.: GD-20-004978
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  CVS PHARMACY, INC., a Rhode Island               :
  corporation; CVS HEALTH SOLUTIONS,               :
  LLC, a Rhode Island limited liability            :
  company; and PENNSYLVANIA CVS
  PHARMACY, LLC, a Pennsylvania limited
  liability corporation,

                                 Defendants.

                               COMPLAINT IN CIVIL ACTION

       AND NOW COMES Plaintiff, Lifestyle Evolution Inc. by and through its undersigned

counsel, Flaherty Fardo Rogel & Amick, LLC, and files the within Complaint in Civil Action. In

support thereof, Plaintiff avers as follows:

                                               PARTIES

   1. Plaintiff, Lifestyle Evolution Inc. has a principal place of business in Allegheny County

       at 520 2nd Street, Oakmont, PA 15139.

   2. Plaintiff, Lifestyle Evolution Inc. does business as NuGo Nutrition (hereinafter “NuGo or

       “Plaintiff”).

   3. Defendant CVS Pharmacy, Inc. is a registered Rhode Island corporation with a principal

       place of business at One CVS Drive, Woonsocket, RI 02895.




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4. Defendant, CVS Health Solutions, LLC is a registered Rhode Island corporation with a

   principal place of business at One CVS Drive, Woonsocket, RI 02895.

5. Defendant Pennsylvania CVS Pharmacy, LLC is a registered Pennsylvania limited

   liability company with a service address of 600 North 2nd Street, Suite 401, Harrisburg,

   PA 17101.

6. Defendants shall hereby collectively be referred to as “CVS.”

7. CVS owns and operates numerous stores in Allegheny County.

                            FACTUAL BACKGROUND

8. NuGo manufactures inter alia protein bars and/or snacks (hereinafter “Product”).

9. On or about March 1, 2016, NuGo and CVS entered into a Supplier Agreement, whereby

   NuGo would supply CVS with an amount of Product that CVS requested. See Exhibit A.

   This Agreement was executed in Pennsylvania.

10. Pursuant to the Supplier Agreement, CVS had the option to deduct 2% for unsaleable

   Product.

11. From March 2016 through February of 2017, CVS ordered a total of $54,518.00 of

   NuGo’s Product.

12. Per the 2016 Agreement, $1,091.00 was the agreed upon deduction (2% of unsaleable).

13. In March of 2017, CVS decided and agreed to expand the market in which it was going to

   sell NuGo’s Product.

14. The parties executed a 2017 Supplier Agreement (See Exhibit B), whereby NuGo agreed

   to provide CVS with a 2% credit as to damages of the Product, in addition to the 2%

   unsaleable allowance, for a total of 4% off the invoice amount. This Agreement was

   executed in Pennsylvania.



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15. Thereafter, NuGo continued to sell and deliver Product to CVS, which CVS received and

   accepted and successfully sold and, as a result, continued to order more Product.

16. From March 2017 through 2019, CVS ordered a total of $901,714.00 of NuGo’s Product.

17. Per the new Agreement, $36,068.00 was the agreed upon deduction for these orders (2%

   of unsaleable and 2% for damages).

18. Accordingly, from 2016 through 2019, the agreed upon deductions came to a total of

   $37,159.00.

19. However, CVS, in bad faith and contrary to the Agreements, deducted a total of

   $241,923.89 for unsaleable and damages from 2016 through 2019.

20. Therefore, CVS deducted $204,764.89 over what the contact allowed for.

21. CVS owes NuGo $204,764.89 for the Product sold and delivered.

22. As an additional note, in an effort to expand the market in which NuGo’s products were

   to be sold, it was agreed between the parties that NuGo would supply CVS with

   $347,394.00 worth of Product at no cost, which CVS readily accepted and sold.

23. The figure referenced in Paragraph 22 has not been included in either of the total sales or

   percentage deductions.

                        COUNT I: BREACH OF CONTRACT

24. Plaintiff incorporates the foregoing paragraphs herein as if incorporated at length.

25. NuGo and CVS were parties to an enforceable contractual obligation beginning in 2016

   whereby NuGo agreed to provide Product to CVS, and CVS agreed to pay for the same.

26. In March of 2017, NuGo and CVS agreed that CVS could deduct a total of 4% off the

   invoices, which included a 2% damage allowance and 2% unsaleable allowance.




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   27. Thereafter, NuGo provided Product to CVS on numerous occasions between March 2017

       and 2019.

   28. NuGo invoiced CVS in accordance with the agreement.

   29. Payment was due within thirty (30) days of receipt of the invoices.

   30. In sum, overall, CVS ordered a total of $956,232.00 of NuGo’s Product, which NuGo

       supplied to CVS and CVS received and accepted.

   31. CVS deducted a total of $241,923.89 for damages and unsaleable.

   32. The agreed upon deduction, however, totaled $37,159.00.

   33. Therefore, CVS deducted $204,764.89 over what the contact allowed for.

   34. NuGo has been damaged by CVS’ breach of contract, as NuGo delivered Product and

       incurred costs for the benefit of CVS, the expected compensation for which has not been

       paid.

   35. Therefore, CVS has caused financial harm to Plaintiff in the minimum amount of

       $204,764.89 for breach of contract.

       WHEREFORE, Plaintiff demands judgment be entered in its favor and against Defendant

in the minimum amount of $204,764.89 and any other such relief as this Court may deem

appropriate.



                           COUNT II: UNJUST ENRICHMENT
                             Pled in the Alternative to Count I


   36. NuGo incorporates the foregoing paragraphs as if set forth herein at length.

   37. NuGo delivered Product to CVS for its own benefit and gain.




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   38. NuGo reasonably expected to be paid or receive adequate consideration in return for the

       Product provided.

   39. CVS knew NuGo reasonably expected such payment and benefit.

   40. CVS has directly benefited from the Product provided by the NuGo in a minimum

       amount of $204,764.89.

   41. CVS nevertheless refuses to pay NuGo for the Product it received and accepted and from

       which CVS benefitted by reselling.

   42. NuGo believes that CVS owes Plaintiff the reasonable value of its products and services

       an amount not less than $204,764.89.

       WHEREFORE, Plaintiff demands judgment be entered in its favor and against Defendant

in the minimum amount of $204,764.89 and any other such relief as this Court may deem

appropriate.



                                                    Respectfully Submitted,

                                                    FLAHERTY FARDO ROGEL & AMICK,

                                                    LLC,


Dated: May 26, 2020                           By:   /s/ Jaclyn M. DiPaola
                                                    Jaclyn M. DiPaola, Esq.
                                                    Attorney for Plaintiff




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  CVS PHARMACY, INC., a Rhode Island                :
  corporation; CVS HEALTH SOLUTIONS,                :
  LLC, a Rhode Island limited liability             :
  company; and PENNSYLVANIA CVS
  PHARMACY, LLC, a Pennsylvania limited
  liability corporation,

                                  Defendants.



                                        VERIFICATION

       I,        David Levine                    , authorized representative of Lifestyle Evolution

Inc., aver that the statements contained in the attached Complaint in Civil Action are true and

correct to the best of my information, knowledge and belief, and are made subject to the

penalties of 18 Pa. Cons. Stat. Ann. § 4904 relating to the unsworn falsification to authorities.




                                                      ___________________________
                                                      CEO, Lifestyle Evolution, Inc.
                                                      Date: May 25, 2020




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Supplier Agreement 32899




                               EXHIBIT A
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Supplier Agreement 2017 32899




                                EXHIBIT B
